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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:

EDWIN MARTINEZ,                                      Case No. 8:11-bk-05292-CPM
MIGDALIA MARTINEZ,                                   Chapter 7

         Debtors.
                                     /

                     FINAL CONTINGENCY FEE APPLICATION OF
                          SPECIAL COUNSEL TO TRUSTEE

                              NOTICE OF OPPORTUNITY TO
                               OBJECT AND FOR HEARING

  Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
  without further notice or hearing unless a party in interest files a response within twenty-one
  (21) days from the date set forth on the attached proof of service, plus an additional three
  days for service if any party was served by U.S. Mail.

  If you object to the relief requested in this paper, you must file a response with the Clerk of
  the Court at the Sam M. Gibbons U.S. Courthouse, 801 North Florida Avenue, Suite 555,
  Tampa, FL 33602-3899, and serve a copy on Lori V. Vaughan, Counsel to the Chapter 7
  Trustee, Beth Ann Scharrer, 101 E Kennedy Boulevard, Suite 2700, Tampa, FL 33602 and
  any other appropriate persons within the time allowed. If you file and serve a response
  within the time permitted, the Court will either schedule and notify you of a hearing, or
  consider the response and grant or deny the relief requested without a hearing.

  If you do not file a response within the time permitted, the Court will consider that you do
  not oppose the relief requested in the paper, will proceed to consider the paper without
  further notice or hearing, and may grant the relief requested.

         Chapter 7 Trustee Beth Ann Scharrer (the “Trustee”) on behalf of Sanders Phillips

Grossman, LLC (“Special Counsel” or the “Firm”), pursuant to § 330 of the bankruptcy code,

respectfully applies to this Court for compensation for Special Counsel based on the following:

                                          Background

         1.     On March 24, 2011, Edwin Martinez and Migdalia Martinez (the “Debtors”) filed

a voluntary Petition for relief under Chapter 7 of the Bankruptcy Code.
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       2.      Beth Ann Scharrer was appointed Chapter 7 Trustee.                 Trustee Scharrer

administered the disclosed assets as a no asset case, was discharged from trustee obligations in

the case and the case was closed on July 28, 2011.

       3.      The Trustee has been informed that the Debtor, Migdalia Martinez, is a plaintiff

in Multi District Litigation seeking compensation for damages associated with the use of one or

more medical mesh devises that were surgically implanted prepetition.

       4.      The tort claim the Trustee seeks to pursue is based on pre-petition events and is

property of the bankruptcy estate. To that end, the Trustee moved to reopen this Chapter 7 case

(Doc. No. 27), and that Motion was granted (Doc. No. 28).

       5.      On July 11, 2018, a Notice of Appointment of Successor Trustee Beth Ann

Scharrer was filed by the US Trustee (Doc. No. 29).

       6.      On or about January 14, 2014, the Debtor entered into a Contingency Fee

Agreement with Special Counsel (“Fee Agreement”) to represent the Debtor in investigating and

pursuing causes of action related to the product liability cases (the “Claim”).

       7.      The Fee Agreement provides for a forty-five percent (45%) contingency fee of

any recovery up to $1 million.

       8.      On July 10, 2015, Special Counsel filed a claim on behalf of the Debtor for

damages arising from Debtor’s causes of action.

       9.      A settlement program was negotiated to resolve the claims in the Multi-District

Litigation. Pursuant to the settlement agreement, the Settlement Administrator evaluated the

claim of each claimant that participated in the settlement and assigned each participating

claimant points based upon various factors, including the claimant’s age, injury and treatment

level, and risk factors, such as smoking.




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       10.     On February 25, 2019, the Trustee filed her Application for Order Authorizing

Employment of Special Counsel, seeking to employ Special Counsel on a contingency fee basis

to provide legal services in connection with finalizing a settlement of the Debtor’s pre-petition

Claim. (Doc. No. 36).

       11.     On February 26, 2019, the Court entered an Order approving the Trustee’s

application to employ Special Counsel. (Doc. No. 37).

       12.     On June 26, 2019, the Trustee filed on negative notice, a Motion to Approve

Compromise of Controversy (the “Motion to Compromise”), seeking approval of the proposed

settlement of the Claim for a gross settlement award of $17,352.69.

       13.     The Motion to Compromise discloses that in accordance with the compromise, the

Trustee will pay the Firm from the gross settlement award of $17,352.69, less the common

benefit fee of 5% ($867.63), an aggregate contingency fee of 45% ($7,418.28) and costs in the

amount of $3,435.10.

          Summary of Requested Compensation and Reimbursement of Expenses

       14.     For the Application Period, Special Counsel seeks aggregate compensation for

services rendered for and on behalf of the Trustee in the amount of $7,418.28 (45% of the gross

settlement award less the 5% common benefit fee).

       15.     Additionally, the Firm seeks reimbursement of expenses in the amount of

$3,435.10.

       16.     The Trustee retained Special Counsel to render legal services on behalf of the

Trustee and the estate with respect to finalizing the settlement of the Claim.

       17.     All services for which compensation is requested were performed for or on behalf

of the Trustee and not on behalf of any committee, any creditor, or any other person.




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       18.      Special Counsel has not previously sought any allowance of fees and costs or

received any payments, and this Application represents Special Counsel’s final request for

compensation.

                         Narrative Description of Services Performed

       19.      On January 14, 2014, the Debtor retained Special Counsel on a contingency fee

basis to represent her in pursuing the Claim, which seeks damages for personal injury and

products liability associated with the Debtor’s prepetition medical procedures.

       20.      Special Counsel has vigorously asserted and pursued the Claim, and the

Defendant has vigorously defended the claim asserted against it.

       21.      Consolidated, multi-district litigation is extraordinarily complex, and thus takes

years to resolve, and in this litigation, it was vigorously defended by sophisticated counsel. The

hours spent by Special Counsel in this litigation has directly resulted in this recovery. During the

many years that the litigation was pending, Special Counsel incurred expenses, including time

and resources, necessary to pursue the litigation and ultimately negotiate the settlement which

included the claim on behalf of the Debtor.

       22.      In reaching the settlement, a process was put in place to validate all claims which

required the review, analyzing, and submission of documents consisting of medical records

documenting various factors, which make a claimant eligible for settlement, a properly signed

and notarized Release, and agreed stipulation of dismissal. Special Counsel rendered legal

services in this case to the Debtor as follows: first, Special Counsel began the investigation by

obtaining the pertinent information from the Debtor regarding her medical procedures and her

claimed injuries.   Then, Special Counsel proceeded with the investigation by ordering the

necessary medical records to document her claimed injuries. Special Counsel obtained all of the




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Debtor’s available medical records. Upon receipt of the requisite medical records, Special

Counsel conducted a medical analysis of the Debtor’s injuries. After securing the essential

medical information and analyzing the legal and medical issues therein, a claim was made on

July 10, 2015. A considerable amount of legal work was required to prepare the necessary

documents required for this claim to be considered in the settlements as each record needed to be

carefully reviewed and bookmarked to identify relevant information over a multiple year

period. As detailed herein, Special Counsel has performed substantial legal work on the

Claim. As a direct result of Special Counsel’s work, a successful recovery has been reached.

                         Standard for Valuation of Services Performed

       23.     Upon careful review of the file, the documentation of the time spent in pursuit of

the Multi-District Litigation and the results obtained, it is the Trustee’s belief that these fees and

costs are fair, reasonable and appropriate based upon the considerations enumerated in Matter of

First Colonial Corp. of America, 544 F. 2d 291 (5th Cir. 1977).

       WHEREFORE, Trustee requests Special Counsel be awarded and allowed compensation

for professional services in the sum of $7,418.28 (45% of the gross settlement award of

$17,352.69 less the 5% common benefit fee), and reimbursement of expenses in the amount of

$3,435.10, for a total of $10,853.38, or such amount as the Court shall deem fair and reasonable

under the circumstances herein; that the approved amounts be payable to Sanders Phillips

Grossman, LLC; and that the Court grant it such other and further relief as is just.

       Respectfully submitted,


                                       /s/ Lori V. Vaughan
                                       LORI V. VAUGHAN
                                       Florida Bar No. 0154921
                                       lvaughan@trenam.com
                                       TRENAM KEMKER SCHARF BARKIN



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                                      FRYE O’NEILL & MULLIS PA
                                      P.O. Box 1102
                                      Tampa, FL 33601
                                      Tel: (813) 223-7474

                                      Counsel for Chapter 7 Trustee



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 26, 2019 a true and correct copy of the FINAL

CONTINGENCY FEE APPLICATION OF SPECIAL COUNSEL TO TRUSTEE was

served electronically by CM/ECF to those parties registered to receive electronic notices of filing

in this case and/or via First Class U.S. Mail, postage prepaid to: Debtors, Edwin Martinez and

Migdalia Martinez, 3424 Yale Circle, Riverview, FL 33578; Debtors’ Attorney, Daniel F. Pilka,

Esq., Pilka & Associates, PA, 213 Providence Road, Brandon, FL 33511, dpilka@pilka.com;

Office of the United States Trustee, Timberlake Annex Suite 2100, 501 E. Polk Street, Tampa,

FL 33602, steven.wilkes@usdoj.gov; registered CM/ECF participants; Randi Kassan, Esq.,

Sanders Phillips Grossman, LLC, 100 Garden City Plaza, Suite 500, Garden City, NY 11530;

and all Creditors listed on the attached master-mailing matrix for this case.

                                              /s/ Lori V. Vaughan
                                              Attorney




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                                           VERIFICATION


           Under penalty of perjury, I, Rhys P. Leonard, hereby verify that the fees and costs for

which reimbursement is sought herein are reasonable for the work performed, and that the

foregoing application is true and accurate. I also verify that this fee application has been

submitted to the chapter 7 Trustee for his review, prior to submission to the Court and interested

parties.




                                                             Rh-^ST. Leonard

STATE OF FLORIDA                       )
                                       )
COUNTY OF HILLSBOROUGH                 )

       The foregoing FINAL CONTINGENCY FEE APPLICATION OF SPECIAL
COUNSEL TO TRUSTEE was acknowledged before me on June 26, 2019, by Rhys P.
Leonard,[X] who is personally known to me.


(SEAL)

                                                     ilAjd, (f.
                                                     ptary Public


                                                                       MARJEC. WOODS
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                                                                   EXPIRES;July 21,2019
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Label Matrix for local noticing              GE Money Bank Doc 39 Filed 06/26/19     Page  8 ofChase
                                                                                      JP Morgan 10 Bank Department
113A-8                                       Attn: Ramesh Singh                        PO Box 201347
Case 8:11-bk-05292-CPM                       c/o Recovery Management Systems Corp      Arlington, TX 76006-1347
Middle District of Florida                   25 SE 2nd Ave, Suite 1120
Tampa                                        Miami, FL 33131-1605
Wed Jun 26 10:09:47 EDT 2019
JPMorgan Chase Bank, National Association    ARM, Inc.                                 American Medical Collection
c/o Nicole M. Mariani                        PO Box 277690                             Agency
P.O. Box 800                                 Hollywood, FL 33027-7690                  4 Westchester Plaza
Tampa, FL 33601-0800                                                                   Bldg 4
                                                                                       Elmsford, NY 10523-1615

Ars Account Resolution                    Ascension Capital Group Inc                  Ashley Funding Services LLC its successors a
P O Box 15670                             c/o JP Morgan Chase Bank, Ntl Assoc Dept     assigns as assignee of Laboratory Corp
Brooksville, FL 34604-0122                PO Box 201347                                of America Holdings
                                          Arlington, TX 76006-1347                     Resurgent Capital Services
                                                                                       PO Box 10587
                                                                                       Greenville, SC 29603-0587
BRANDON REGIONAL HOSPITAL                 Bank Of America                              Bank of America
c/o B-Line, LLC                           Attn: Bankruptcy NC4-105-03-14               PO Box 53132
MS 550                                    Po Box 26012                                 Phoenix, AZ 85072-3132
PO Box 91121                              Greensboro, NC 27420-6012
Seattle, WA 98111-9221

Bay Area Cardiology                       Bay Area Cardiology Associates               Brandon Anesthesia Associate
635 Eichenfeld Drive                      Berks Credit & Collections                   PO Box 861342
Brandon, FL 33511-5908                    PO Box 329                                   Orlando, FL 32886-0001
                                          Temple, PA 19560-0329


Brandon Pediatric Physicians              Brandon Regional Hospital                    Brandon Regional Hospital
PO Box 740022                             PO Box 9800                                  PO Box 99400
Cincinnati, OH 45274-0022                 Palm Harbor, FL 34682-9800                   Louisville, KY 40269-0400



Capital Recovery III LLC                  Cardiac Surgical Assoc.                      Chase
c/o Recovery Mgmt Systems Corp            6006 49th St N Ste 310                       Cardmember Service
25 SE 2nd Ave Ste 1120                    Saint Petersburg, FL 33709-2149              PO Box 15153
Miami, FL 33131-1605                                                                   Wilmington, DE 19886-5153


Chase                                     Chase                                        Citi Cards
PO Box 78148                              Po Box 1093                                  PO Box 45129
Phoenix, AZ 85062-8148                    Northridge, CA 91328                         Jacksonville, FL 32232-5129



(p)CITIBANK                               Collection                                   Credit Collection Services
PO BOX 790034                             Po Box 9136                                  Two Wells Ave
ST LOUIS MO 63179-0034                    Needham, MA 02494-9136                       Newton Center, MA 02459-3246



Creditors Financial Group                 Doug Belden Tax Collector                    FMA Alliance LTD
PO Box 440290                             PO BOX 172920                                11811 North Freeway
Aurora, CO 80044-1500                     Tampa, FL 33672-0920                         Suite 900
                                                                                       Houston, TX 77060-3292
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Federal Home Loan Mortgage Corporation (FNMA Financial CreditDoc
                                                              Svcs 39     Filed 06/26/19    Page  9 ofRecovery
                                                                                             Financial 10 Services
c/o BK Global                                628 Bypass Dr                                   PO Box 385908
1095 Broken Sound Pkwy, NW Suite 100         Clearwater, FL 33764-5024                       Minneapolis, MN 55438-5908
Boca Raton, FL 33487-3503


Grow Financial                                 Hilco Rec                                     Home Depot
PO Box 89909                                   Attn: Bankruptcy                              PO Box 689100
Tampa, FL 33689-0415                           1120 Lake Cook Road Suite B                   Des Moines, IA 50368-9100
                                               Buffalo Grove, IL 60089-1970


Internal Revenue Service                       JP Morgan Chase Bank, National Association    Jon A. Harmon MD PA
PO Box 7346                                    PO Box 201347                                 PO Box 862811
Philadelphia, PA 19101-7346                    Arlington, TX 76006-1347                      Orlando, FL 32886-2811



LCA Collections                                Lvnv Funding Llc                              MCM
PO Box 2240                                    Po Box 740281                                 Department 12421
Burlington, NC 27216-2240                      Houston, TX 77274-0281                        PO Box 603
                                                                                             Oaks, PA 19456-0603


Medical Debt Recovery                          Merchants Assoc Cool D                        Midland Credit Management
8900 State Line Road #420                      134 S Tampa St                                Po Box 939019
Leawood, KS 66206-1936                         Tampa, FL 33602-5396                          San Diego, CA 92193-9019



Midland Credit Management, Inc.                Midland Funding LLC                           Monther Al-Halawani, MD
8875 Aero Drive, Suite 200                     Dept 12421                                    214 S. Moon Ave
San Diego, CA 92123-2255                       PO Box 603                                    Brandon, FL 33511-5704
                                               Oaks, PA 19456-0603


Natioanl Asset Managment                       Nco Fin/33                                    Nothern Capital Select
PO Box 703                                     9009 Corporate Lake Dr                        Insurance Co.
Coraopolis, PA 15108-0703                      Tampa, FL 33634-2367                          PO Box 2800
                                                                                             Pinellas Park, FL 33780-2800


PYOD LLC its successors and assigns as assig   Palanisamy Rathinasamy MD PA                  Professional Recovery Svcs
Citibank, NA                                   205 S Moon Ave., Ste. 102                     PO Box 1880
c/o Resurgent Capital Services                 Brandon, FL 33511-5716                        Voorhees, NJ 08043-7880
PO Box 19008
Greenville, SC 29602-9008

Quest Diagnostics                              Recovery Management Systems Corporation       Ruffolo Hooper & Assoc
PO Box 740781                                  25 S.E. 2nd Avenue, Suite 1120                5755 Hoover Blvd.
Cincinnati, OH 45274-0781                      Miami, FL 33131-1605                          Tampa, FL 33634-5340



Tampa Bay Radiation Oncology                   Total Imaging Parson                          United Collection Bureau Inc
4031 Upper Creek Drive                         PO Box 100731                                 5620 Southwyck Blvd
Sun City Center, FL 33573-6819                 Attn: Patient Accounts                        Suite 206
                                               Atlanta, GA 30384-0731                        Toledo, OH 43614-1501
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                                             Zakheim & Associates                                     Page
                                                                                                        Beth 10
                                                                                                             Ann of 10
                                                                                                                 Scharrer
Timberlake Annex, Suite 1200                 1045 South Univeristy Drive                                  Trustee
501 E Polk Street                            Suite 202                                                    PO Box 4550
Tampa, FL 33602-3949                         Fort Lauderdale, FL 33324-3333                               Seminole, FL 33775-4550


Daniel F Pilka                                       Edwin Martinez                                       Migdalia Martinez
Pilka & Associates, P.A.                             3424 Yale Circle                                     3424 Yale Circle
213 Providence Road                                  Riverview, FL 33578-4221                             Riverview, FL 33578-4221
Brandon, FL 33511-4707




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Citibank Sd, Na                                      (d)Citibank Usa                                      (d)Exxmblciti
Attn: Centralized Bankruptcy                         Citicard Credit Srvs/Centralized Bankrup             Attn.: Centralized Bankruptcy
Po Box 20507                                         Po Box 20507                                         Po Box 20507
Kansas City, MO 64195                                Kansas City, MO 64195                                Kansas City, MO 64195




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)JPMORGAN CHASE BANK, NATIONAL ASSOCIATION         End of Label Matrix
c/o Nicole M Mariani                                 Mailable recipients    65
P.O. Box 800                                         Bypassed recipients     1
Tampa, FL 33601-0800                                 Total                  66
